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                                                                                    APPEAL,TERMED
                  U.S. District Court − District of Colorado
                        District of Colorado (Denver)
      CRIMINAL DOCKET FOR CASE #: 1:17−cr−00168−CMA All Defendants

  Case title: USA v. McClaflin                                Date Filed: 05/17/2017
                                                              Date Terminated: 05/14/2018

  Assigned to: Judge Christine M.
  Arguello

  Defendant (1)
  Karen Lynn McClaflin                 represented by Karen Lynn McClaflin
  TERMINATED: 05/14/2018                              15954 Jackson Creek Parkway
                                                      B602
                                                      Monument, CO 80132
                                                      PRO SE

                                                     Thomas James Hammond
                                                     Thomas J. Hammond, P.C.
                                                     1544 Race Street
                                                     Denver, CO 80206
                                                     303−321−7902
                                                     Fax: 303−329−5871
                                                     Email: hammondlaw@solucian.com
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Retained

  Pending Counts                                     Disposition
                                                     Defendant committed to the custody of the Federal
                                                     Bureau of Prisons to be imprisoned for a total term
                                                     of NINETY−SIX (96) MONTHS to run concurrently
  18 U.S.C. § 1343 Wire Fraud                        to Count 2. Supervised Release of THREE (3)
  (1)                                                YEARS to run concurrently to Count 2. Special
                                                     Assessment of $100.00. Restitution of
                                                     $14,528,206.39.
                                                     Defendant committed to the custody of the Federal
  18 U.S.C. § 1957 Monetary                          Bureau of Prisons to be imprisoned for a total term
                                                     of NINETY−SIX (96) MONTHS to run concurrently
  Transaction in property derived                    to Count 1. Supervised Release of THREE (3)
  from wire fraud                                    YEARS to run concurrently to Count 1. Special
  (2)                                                Assessment of $100.00. Restitution of
                                                     $14,528,206.39.

  Highest Offense Level
  (Opening)
  Felony

  Terminated Counts                                  Disposition
  None

  Highest Offense Level
  (Terminated)
  None

  Complaints                                         Disposition
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  None


  Plaintiff
  USA                                          represented by Pegeen Denise Rhyne
                                                              U.S. Attorney's Office−Denver
                                                              1801 California Street
                                                              Suite 1600
                                                              Denver, CO 80202
                                                              303−454−0323
                                                              Fax: 303−454−0409
                                                              Email: pegeen.rhyne@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Federal Agency Attorney

                                                               Laura Beth Hurd
                                                               U.S. Attorney's Office−Denver
                                                               1801 California Street
                                                               Suite 1600
                                                               Denver, CO 80202
                                                               303−454−0135
                                                               Fax: 303−454−0402
                                                               Email: laura.hurd@usdoj.gov
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Federal Agency Attorney

   Date Filed   #   Docket Text
   05/17/2017   1 INFORMATION as to Karen Lynn McClaflin (1) count(s) 1, 2. (Attachments: # 1
                  Penalty Sheet) (athom, ) (Entered: 05/17/2017)
   05/17/2017   2 NOTICE OF ATTORNEY APPEARANCE: Thomas James Hammond appearing for
                  Karen Lynn McClaflinAttorney Thomas James Hammond added to party Karen Lynn
                  McClaflin(pty:dft) (Hammond, Thomas) (Entered: 05/17/2017)
   05/17/2017   3 Personal Recognizance Bond Entered as to Karen Lynn McClaflin (bwilk, ) (Entered:
                  05/18/2017)
   05/17/2017   4 ORDER Setting Conditions of Release by Magistrate Judge Nina Y. Wang on 5/17/17.
                  (bwilk, ) (Entered: 05/18/2017)
   05/17/2017   5 COURTROOM MINUTES for Initial Appearance, and Arraignment, as to Karen Lynn
                  McClaflin held on 5/17/2017 before Magistrate Judge Nina Y. Wang. Defendant
                  present on summons. Defendant sworn. Defendant advised. Defendant waives filing of
                  indictment. Waiver tendered to the court. Parties have an informal agreement
                  regarding discovery. Plea of NOT GUILTY entered by defendant. Bond set as to
                  Karen Lynn McClaflin (1) Personal Recognizance. Conditions of bond set. Counsel is
                  directed to chambers. (Total time: 9 minutes, Hearing time: 1:38−1:47)

                    APPEARANCES: Pegeen Rhyne on behalf of the Government, Thomas Hammond
                    on behalf of the Defendant, Angela Ledesma on behalf of Pretrial. FTR: Courtroom
                    C−204. (bwilk, ) Text Only Entry (Entered: 05/18/2017)
   05/17/2017   6 WAIVER of Indictment, by Karen Lynn McClaflin. (nmarb, ) (Entered: 05/19/2017)
   05/20/2017   7 NOTICE of Disposition by Karen Lynn McClaflin (Hammond, Thomas) (Entered:
                  05/20/2017)
   05/22/2017   8 ORDER as to Karen Lynn McClaflin: Pursuant to email correspondence between
                  counsel and Chambers staff and the Notice of Disposition 7 , a Change of Plea Hearing
                  is set for Defendant on June 21, 2017, at 3:00 PM in Courtroom A602 before Judge
                  Christine M. Arguello. Counsel for the parties shall deliver courtesy copy of the Plea
                  Agreement to Judge Arguello's chambers, via email or fax, no less than 72 hours
                  before the Change of Plea Hearing. If a courtesy copy is not timely submitted, the
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                    hearing may be vacated. The original and one copy of the Statement by Defendant in
                    Advance of Change of Plea and Plea Agreement should be delivered to the courtroom
                    deputy in the courtroom at the time of the hearing (D.C.COLO.LCrR 11.1(e)(1)).
                    FURTHER ORDERED that defense counsel who has reviewed and advised Defendant
                    regarding the facts, discovery and plea agreement must attend this Change of Plea
                    Hearing. SO ORDERED BY Judge Christine M. Arguello on 5/22/2017. Text Only
                    Entry (cmasec) (Entered: 05/22/2017)
   06/21/2017   10 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Change
                   of Plea Hearing as to Karen Lynn McClaflin held on 6/21/2017. Plea entered by
                   Defendant; Guilty as to Counts 1 and 2 of the Information. Sentencing set for
                   01/17/2018 at 9:00 a.m. in Courtroom A602 before Judge Christine M. Arguello.
                   ORDERED: Counsel shall file either a Stipulation as to loss amount and restitution
                   amount, and enhancements or simultaneous Sentencing Statements by 09/29/2017. All
                   other dates are vacated and any pending motions are denied as moot. The US
                   Probation Office shall prepare a Presentence Report. Counsel shall file their sentencing
                   positions and all motions at least 14 days before the sentencing date; responses or
                   objections shall be filed no later than seven days before the sentencing date. Failure to
                   timely file these pleadings may result in a continuance of the sentencing date.
                   Defendant present on bond; bond continued. (Total time: 47 Minutes, Hearing time:
                   3:02 p.m. −− 3:49 p.m.)

                    APPEARANCES: Pegeen Rhyne on behalf of the Government; Thomas Hammond
                    on behalf of the Defendant. Court Reporter: Darlene Martinez. (swest) Text Only
                    Entry (Entered: 06/21/2017)
   06/21/2017   11 PLEA AGREEMENT as to Defendant Karen Lynn McClaflin. (swest) (Entered:
                   06/21/2017)
   06/21/2017   12 STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Karen Lynn
                   McClaflin. (swest) (Entered: 06/21/2017)
   09/01/2017   13 Joint MOTION to Continue DEADLINE FOR SENTENCING FILINGS AND
                   SENTENCING HEARING by USA as to Karen Lynn McClaflin. (Rhyne, Pegeen)
                   (Entered: 09/01/2017)
   09/11/2017   14 ORDER granting 13 Motion to Continue as to Karen Lynn McClaflin (1). Pursuant to
                   email correspondence between counsel and Chambers staff, Sentencing set for
                   1/17/2018 is VACATED and RESET to 3/14/2018, at 11:00 AM in Courtroom A 602
                   before Judge Christine M. Arguello. FURTHER ORDERED that Sentencing
                   Statements or a stipulation regarding loss and restitution is due 12/1/2017. SO
                   ORDERED by Judge Christine M. Arguello on 9/11/2017. Text Only Entry (cmasec)
                   (Entered: 09/11/2017)
   12/01/2017   15 STIPULATION Regarding Loss and Restitution by USA as to Karen Lynn McClaflin
                   (Rhyne, Pegeen) (Entered: 12/01/2017)
   02/07/2018   16 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                   Karen Lynn McClaflin (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3 Exhibit D, # 4
                   Exhibit E, # 5 Exhibit F, Part I, # 6 Exhibit F, Part II, # 7 Exhibit G)(chanl) (Entered:
                   02/07/2018)
   02/14/2018   17 OBJECTION/RESPONSE to Presentence Report 16 by USA as to Karen Lynn
                   McClaflin (Rhyne, Pegeen) (Entered: 02/14/2018)
   02/21/2018   18 OBJECTION/RESPONSE to Presentence Report by Karen Lynn McClaflin
                   (Hammond, Thomas) (Entered: 02/21/2018)
   02/23/2018   19 MOTION for Decrease for Acceptance of Responsibility by USA as to Karen Lynn
                   McClaflin. (Rhyne, Pegeen) (Entered: 02/23/2018)
   02/23/2018   20 MOTION for Order for a Variant Sentence of 65 Months of Incarceration by USA as
                   to Karen Lynn McClaflin. (Rhyne, Pegeen) (Entered: 02/23/2018)
   03/05/2018   21 RESTRICTED PRESENTENCE REPORT as to Karen Lynn McClaflin (Attachments:
                   # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F,
                   Part I, # 7 Exhibit F, Part II, # 8 Exhibit G)(chanl) (Entered: 03/05/2018)
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   03/05/2018   22 RESTRICTED ADDENDUM to Presentence Report 21 as to Karen Lynn McClaflin
                   (Attachments: # 1 Exhibit A)(chanl) (Entered: 03/05/2018)
   03/05/2018   23 Unopposed MOTION to Continue Sentencing by Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 03/05/2018)
   03/05/2018   24 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                   (Entered: 03/05/2018)
   03/05/2018   25 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 03/05/2018)
   03/05/2018   26 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 03/05/2018)
   03/06/2018   27 ORDER granting 23 Motion to Continue as to Karen Lynn McClaflin (1). Pursuant to
                   email correspondence between counsel and Chambers staff, Sentencing set for
                   3/14/2018 is VACATED and RESET to 5/10/2018, at 11:00 AM in Courtroom A 602
                   before Judge Christine M. Arguello. SO ORDERED by Judge Christine M. Arguello
                   on 3/6/2018. Text Only Entry (cmasec) (Entered: 03/06/2018)
   03/09/2018   28 ORDER granting 24 Motion for Leave to Restrict. Docs. 25 and 26 , all exhibits
                   attached thereto, and any orders that may reveal the contents of these documents shall
                   have a Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on
                   3/9/2018. Text Only Entry (cmasec) (Entered: 03/09/2018)
   04/24/2018   29 NOTICE OF ATTORNEY APPEARANCE Laura Beth Hurd appearing for USA.
                   Attorney Laura Beth Hurd added to party USA(pty:pla) (Hurd, Laura) (Entered:
                   04/24/2018)
   04/24/2018   30 MOTION for Forfeiture of Property FOR PRELIMINARY ORDER OF FORFEITURE
                   FOR A PERSONAL MONEY JUDGMENT by USA as to Karen Lynn McClaflin.
                   (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura) (Entered: 04/24/2018)
   04/25/2018   31 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                   RULES/PROCEDURES: re: 30 MOTION for Forfeiture of Property FOR
                   PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                   JUDGMENT filed by attorney Laura Beth Hurd. The format for the attorneys signature
                   block information is not correct − the signature block does not contain the updated
                   contact information. DO NOT REFILE THE DOCUMENT. Action to take − future
                   documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 4.3(d) of the
                   Electronic Case Filing Procedures (Criminal Cases). (Text Only Entry) (athom, )
                   (Entered: 04/25/2018)
   04/25/2018   32 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                   JUDGMENTAGAINST DEFENDANT KAREN LYNN MCCLAFLIN as to Karen
                   Lynn McClaflin. By Judge Christine M. Arguello on 04/25/2018. (athom, ) (Entered:
                   04/25/2018)
   05/04/2018   33 MOTION to Continue May 10, 2018 Sentencing Hearing by Karen Lynn McClaflin.
                   (Hammond, Thomas) (Entered: 05/04/2018)
   05/04/2018   34 MOTION for Leave to Restrict by Karen Lynn McClaflin. (Hammond, Thomas)
                   (Entered: 05/04/2018)
   05/04/2018   35 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Hammond,
                   Thomas) (Entered: 05/04/2018)
   05/04/2018   36 RESTRICTED DOCUMENT − Level 2: as to Karen Lynn McClaflin. (Attachments: #
                   1 Continuation of Main Document)(Hammond, Thomas) (Entered: 05/04/2018)
   05/07/2018   37 ORDER denying 33 Motion to Continue Sentencing. The Court notes that sentencing
                   has been delayed for almost a year and that Defendant does not allege, nor does any
                   evidence support, that Defendant requires a major procedure in the imminent future.
                   SO ORDERED by Judge Christine M. Arguello on 5/7/2018. Text Only Entry
                   (cmasec) (Entered: 05/07/2018)
   05/09/2018   38 ORDER granting 34 Motion for Leave to Restrict. Docs. ## 35 and 36 , all exhibits
                   attached thereto, and any orders that may reveal the contents of these documents shall
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                    have a Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on
                    5/9/2018. Text Only Entry (cmasec) (Entered: 05/09/2018)
   05/10/2018   39 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                   Sentencing held on 5/10/2018 as to Defendant Karen Lynn McClaflin. Statements by
                   David Tinkle, Dean Sims, Richard Jackson, Paula Greco, Jeffrey Koch, Donna Klimas,
                   and Cynthia Lynn Henson. WITNESSES SWORN AND TESTIFIED: Melissa Tweet;
                   James Barash. EXHIBITS RECEIVED: 1, 2. ORDERED: GRANTING 19
                   Government's Motion for Decrease for Acceptance of Responsibility; DENYING 20
                   Government's Motion for Order for a Variant Sentence. FURTHER ORDERED:
                   Counsel for the parties shall retain custody of their respective exhibits until such time
                   as all need for the exhibits has terminated and the time to appeal has expired or all
                   appellate proceedings have been terminated plus sixty days. Defendant sentenced as
                   reflected on the record. Defendant present on bond; Defendant's bond is exonerated at
                   the time of voluntary surrender to the institution designated by the Bureau of Prisons.
                   (Total time: 2 Hours, 35 Minutes, Hearing time: 11:04 a.m. −− 1:51 p.m.)

                    APPEARANCES: Pegeen Rhyne and Laura Hurd on behalf of the Government;
                    Thomas Hammond on behalf of the Defendant; Michelle Means on behalf of
                    Probation. ALSO PRESENT: IRS Special Agent Melissa Tweet; Matthew Werner.
                    Court Reporter: Darlene Martinez. (swest) Text Only Entry (Entered: 05/10/2018)
   05/14/2018   40 JUDGMENT as to defendant Karen Lynn McClaflin (1): Defendant committed to the
                   custody of the Federal Bureau of Prisons to be imprisoned for a total term of
                   NINETY−SIX (96) MONTHS as to each Count, to run concurrently. Supervised
                   Release of THREE (3) YEARS, as to each Count, to run concurrently. Total Special
                   Assessment of $200.00. Restitution of $14,528,206.39. SO ORDERED by Judge
                   Christine M. Arguello on 5/14/2018. (cmasec) (Entered: 05/14/2018)
   05/14/2018   41 STATEMENT OF REASONS as to Karen Lynn McClaflin. (cmasec) (Entered:
                   05/14/2018)
   05/17/2018   42 NOTICE OF APPEAL re 40 Judgment, by Karen Lynn McClaflin. (Attachments: # 1
                   Envelope) (athom, ) (Entered: 05/18/2018)
